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                                      #:9899


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10
                            UNITED STATES DISTRICT COURT

11                       CENTRAL DISTRICT OF CALIFORNIA
12
      CITY OF ALMATY,                      Case No. 14-cv-03650-FMO (FFM)
13
                                           Consolidated with case no. 15-cv-02628-
14                       Plaintiff,        FMO (CW)
15                v.
                                           DECLARATION OF LARA KOLLIOS
16    VIKTOR KHRAPUNOV, et al.,            IN SUPPORT OF THE DEFENDANTS’
                         Defendants.       MOTION TO DISMISS FIRST
17
                                           CONSOLIDATED AMENDED
18                                         COMPLAINT FOR FAILURE TO
                                           STATE A CLAIM UNDER RULE
19
                                           12(b)(6)
20
                                           Date: March 22, 2018
21
                                           Time: 10:00 a.m.
22                                         Ctrm: 6D
23

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                                                     DECLARATION OF LARA KOLLIOS
                                                       Case No.: 14-cv-03650-FMO (FFM)
     Case 2:14-cv-03650-FMO-FFM Document 213-1 Filed 02/07/18 Page 2 of 3 Page ID
                                      #:9900


 1         1.    I, LARA KOLLIOS, am an attorney licensed to practice law before the
 2 courts of the State of California and this Court. I make this declaration in support of

 3 Defendants’ Motion to Dismiss Consolidated Amended Complaint For Failure To

 4 State A Claim Under Rule 12(b)(6). I have personal knowledge of the facts stated

 5 herein and, if called upon, could and would testify competently thereto under oath.

 6         2.    Attached hereto as Exhibit 1 is a true and correct copy of the United
 7 States’ State Department’s “Kazakhstan 2016 Human Rights Report,” printed from

 8 https://www.state.gov/documents/organization/265750.pdf on October 25, 2017.

 9         3.    Attached hereto as Exhibit 2 is a true and correct copy of the January
10 2017 Human Rights Watch Country Summary on Kazakhstan, printed from

11 https://www.hrw.org/sites/default/files/kazakhstan_1.pdf on October 25, 2017.

12         4.    Attached hereto as Exhibit 3 is a true and correct copy of the October 11,
13 2017 Declaration No. 638 of the Council of Europe, titled “Kazakhstan: political

14 oppression, injustice and torture must be stopped,” printed from

15 http://www.assembly.coe.int/nw/xml/XRef/Xref-XML2HTML-

16 en.asp?fileid=24151&lang=en on October 25, 2017.

17         5.    Attached hereto as Exhibit 4 is a true and correct copy of the September
18 27, 2017 article by Tom Burgis titled “Spies, Lies and the Oligarch: Inside London’s

19 Booming Secrets Industry, accessed through the Financial Times online portal at

20 www.ft.com.

21         6.    Attached hereto as Exhibit 5 is a true and correct copy of the January 25,
22 2018 Declaration No. 652 of the Council of Europe, titled “Kazakhstan has to fully

23 comply with its commitments under the International Covenant on Civil andPolitical

24 Rights,” printed from http://assembly.coe.int/nw/xml/XRef/Xref-XML2HTML-

25 en.asp?fileid=24490&lang=en on February 7, 2018.

26         7.    Attached hereto as Exhibit 6 is a true and correct copy of the City of
27 Almaty’s, Kazakhstan’s, and BTA Bank’s Amended Crossclaims, filed in the City of

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                                             1           DECLARATION OF LARA KOLLIOS
                                                           Case No.: 14-cv-03650-FMO (FFM)
     Case 2:14-cv-03650-FMO-FFM Document 213-1 Filed 02/07/18 Page 3 of 3 Page ID
                                      #:9901


 1 Almaty, et al. v. Ablyazov, et al., No. 15-cv-05345 (S.D.N.Y., Oct. 12, 2015) (Dkt. No.

 2 219).

 3         8.    Attached hereto as Exhibit 7 is a true and correct copy of the docket in
 4 City of Almaty, et al. v. Ablyazov, et al., No. 15-cv-05345 (S.D.N.Y., Oct. 12, 2015),

 5 printed on Februarys 7, 2018.

 6         9.    Attached hereto as Exhibit 8 is a true and correct copy of excerpts from
 7 the transcript of the March 6, 2017, oral argument before the Ninth Circuit in City of

 8 Almaty v. Elvira Khrapunov, et al., No. 15-56627.

 9         10.   Attached hereto as Exhibit 9 is a true and correct copy of the Declaration
10 of Peter B. Maggs in Support of the Defendants’ Motion to Dismiss.

11         I declare under penalty of perjury under the laws of the United States of
12 America that the foregoing is true and correct. Executed this 7 day of February 2018,

13 in Oakland, California.

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                                                  /s/ Lara Kollios
                                                  Lara Kollios
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                                             2           DECLARATION OF LARA KOLLIOS
                                                           Case No.: 14-cv-03650-FMO (FFM)
